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and for the City of Kansas City, Missouri

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

kk *

In re:
JIMENEZ ARMS, INC.,
Debtor.

 

 

 

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Case No. 20-10752-ABL
Chapter 7

VERIFIED PETITION FOR
PERMISSION TO PRACTICE IN THIS
CASE ONLY BY ATTORNEY NOT
ADMITTED TO THE BAR OF THIS
COURT

EFFECTIVE JANUARY 1, 2015
FILING FEE IS $250.00

 
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Susan Jacquemot, Petitioner, respectfully represents to the Court:

1. That Petitioner resides in New York, New York.

2. That Petitioner is an attorney at law and a member of the law firm of Kramer
Levin Naftalis & Frankel. The office mailing address for Kramer Levin Naftalis & Frankel is
1177 6" Avenue, New York, New York 10036.

3 That Petitioner has been retained personally or as a member of the law firm by
Beverly Crawford and Alvino Crawford, individually and as parents of the decedent Alvino
Dwight Crawford, and by the City of Kansas City, Missouri to provide legal representation in
connection with the above-entitled case now pending before this Court.

4. That since 1992 Petitioner has been and presently is a member in good standing of
the bar of the highest Court of the State of New York where Petitioner regularly practices law.

», That Petitioner was admitted to practice before the following State Courts, United
States District Courts and United States Circuit Court of Appeals on the dates indicated for each,

and that Petitioner is presently a member in good standing of said Courts.

Admission Date of Admission
New York State Bar # 2489714 9/1/1992

U.S. District Court for the Southern District of New York 6/8/1993

U.S. Court of Appeals for the Second Circuit 8/14/2020

6. That there are or have been no disciplinary proceedings instituted against

petitioner, nor any suspension of any license, certificate or privilege to appear before any
judicial, regulatory, or administrative body, or any resignation or termination in order to avoid
disciplinary or disbarment proceedings.

7. That Petitioner has never been denied admission to the State Bar of Nevada.

8. That Petitioner is a member of good standing in the following Bar Associations:

Association of the Bar of the City of New York.

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9. Petitioner has not filed any application(s) to appear as counsel under Local Rule
IA 11-2 in the last three (3) years. However, members of the Petitioner’s law firm have filed

applications to appear as counsel during the last three (3) years as follows:

 

 

 

 

 

 

 

 

 

 

 

 

Philip Bentley, Esq.
Case Name Case Number | Date of Application | Granted or Denied
In re Jimenez Arms, Inc. 20-10752-ABL | May 26, 2020 [ECF | Granted
No. 23]
Priya K. Baranpuria, Esq.
Case Name Case Number | Date of Application | Granted or Denied
In re Jimenez Arms, Inc. 20-10752-ABL ror 2020 [ECF | Granted
O.

 

 

 

 

 

 

 

10. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the
same extent as a member of the State Bar of Nevada.

11. Petitioner agrees to comply with the standards of professional conduct required
of the members of the bar of this court.

12. Petitioner has disclosed in writing to the clients that the applicant is not admitted

to practice in this jurisdiction and that the clients has consented to such representation.

DATED: January 13, 2021

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—S) ae Liisa

Susan Jacquemot

 

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STATE OF NEW YORK _)
)
COUNTY OF NEW YORK )

Susan Jacquemot, Petitioner, being first duly sworn, deposes and says:

That the foregoing statements are true.
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Ute VAP dtndt _

Susan —_
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(SEAL)

Subscribed and sworn to me before this

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13 ‘ day of Praliory 5 Qeor!l

A LVACE we Notary public

Michael Feuer
Notary Public, State of New York
NO, 02FE6151238
Qualified in Nassau County
Certificate Filed in New York County
Commission Expires August 14,49 X 2.

Coty oF Safer! Yew York
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